Case 2:04-cr-20433-.]DB Document 24 Filed 04/21/05 Page 1 of 2 Page|D 28

. iii
IN THE UNITED sTATEs DISTRICT coURT ’:“'*
FoR THE wEsTERN DISTRICT 0F TENNESSEE 05 w 2 t FH w *
WESTERN DIVISION iii l

meets Fi. cia "'!O

us f <:T.
v?ibE_RG`FU TN ivi&iviPHls

UNITED STATES OF AMERICA, )
)
Plaintiff, ) Criminal No. 04-20433-B
vs. )
)
OLANDER TAYLOR, ) 18 U-S.C. § 922(§)
)
Defendant. )

 

ORDER DISMISSING INDICTMENT

 

Upon Motion Of the United States of America, pursuant to Fed. R. Crim. P. 48, to dismiss
indictment 04-20433 returned against OLANDER TAYLOR on October 19, 2004, it is
§
hereby ORDERED, ADJUDGED AND DECREED THIS ll day of April, 2005 , that the

indictment herein is dismissed, rendering all pending motions moot..

@ED sTATEs DISTRICT JUDGE

DATE; 'j|ZQ l §§
APPROVED- i(a:l'wi\n. U iii/vicki

Katrina U. Earley

Assistant United States Attomey
167 N. Main Street, Suite 800
Memphis, TN 38103

(#019367 Tennessee)

Tl'iis document entered on the docket sheet |n compiiance

wiih Fiuie 55 and/or 32(1>} FRerP on 1/~0?02195

     
 

  

UNITED sTATE mle COUR - WESRNTE D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20433 Was distributed by faX, mail, or direct printing on
April 22, 2005 to the parties listed.

 

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

